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                           UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA



MYRELL BERGERON                                         CIVIL ACTION NO.

v.                                                      2:21-cv-00507-NJB-KWR

LCMC                                                    JUDGE NANNETTE JOLIVETTE
                                                        BROWN

                                                        MAGISTRATE JUDGE
                                                        KAREN WELLS ROBY




            DEFENDANT LCMC URGENT CARE, LLC’S RESPONSE TO
             PLAINTIFF’S STATEMENT OF CONTESTED FACTS AND
       OBJECTIONS TO INCOMPETENT EVIDENCE OFFERED BY PLAINTIFF
      IN OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

         Defendant, LCMC Urgent Care, LLC (“Defendant”), incorrectly identified as LCMC,

hereby files this Response to Plaintiff’s Statement of Contested Facts and Objections to

Incompetent Evidence Offered by Plaintiff in Opposition to Defendant’s Motion for Summary

Judgment, and states as follows:

I.       INTRODUCTION

         Defendant hereby responds to Plaintiff’s Statement of Contested Facts and objects to

certain evidence and statements submitted in opposition to Defendant’s Motion for Summary

Judgment which, as described more fully herein, are unsupported, incompetently supported,

irrelevant, mischaracterized, or misrepresented. This Motion is made without reference to how

the evidence and statements do, or do not, respond to Defendant’s Motion for Summary

Judgment. Defendant filed a separate Reply to Plaintiff’s Opposition.

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II.      LEGAL STANDARD

         Under Rule 56 of the Federal Rules of Civil Procedure, “the court shall grant summary

judgment if the movant shows that there is no genuine dispute as to any material fact and the

movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). Fed. R. Civ. P. 56(c)(1)

provides: “A party asserting that a fact cannot be or is genuinely disputed must support the

assertion by: (A) citing to particular parts of materials in the record, including depositions,

documents, electronically stored information, affidavits or declarations, stipulations (including

those made for purposes of the motion only), admissions, interrogatory answers, or other

materials; or (B) showing that the materials cited do not establish the absence or presence of a

genuine dispute, or that an adverse party cannot produce admissible evidence to support the

fact.”

         Fed. R. Civ. P. 56(c)(2) provides that a party may object that the material cited to support

or dispute a fact cannot be presented in a form that would be admissible in evidence. The rules

further require that “[a]n affidavit or declaration used to support or oppose a motion must be

made on personal knowledge, set out facts that would be admissible in evidence, and show that

the affiant or declarant is competent to testify on the matters stated.” Fed. R. Civ. P. 56(c)(4)).

As a result, courts cannot properly consider hearsay evidence or unsworn documents. In re

Directech Sw., Inc., No. 08-1984, 2009 WL 10663104, at *3 (E.D. La. Nov. 19, 2009) (citing

Martin v. John W. Stone Oil Distrib., Inc., 819 F.2d 547, 549 (5th Cir. 1987)). “[T]he summary

judgment evidence need not be in a ‘form that would be admissible at trial,’ [but] the party

opposing summary judgment must be able to prove the underlying facts.” Love v. Nat'l Med.

Enters., 230 F.3d 765, 776 (5th Cir. 2000) (quoting Geisserman v. MacDonald, 893 F.2d 787,



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793 (5th Cir. 1990)). The exhibits discussed herein do not satisfy this standard and therefore

should not be considered in deciding Defendant’s Motion for Summary Judgment.

III.     ARGUMENT

         A.          Defendant’s Response to Plaintiff’s Statement of Contested Facts

1.       Myrell Bergeron signed an employment agreement with LCMC Health Urgent Care on
         February 22, 2019.

         RESPONSE: Response: Denied but immaterial. Bergeron signed an offer letter and had
         no employment agreement with LCMC Urgent Care, LLC. See Rec. Doc. 32-2, p. 5.
         Bergeron was employed by Premier Health but did not have an employment agreement
         with Premier Health either. See Rec. Doc. 32-2, p. 5.

2.       Plaintiff disclosed her allergy to shrimp and a prior related worker’s compensation injury
         to LCMC in hiring documents which was signed by the Employee Health Benefits
         Coordinator, Marie Lambert on February 22, 2019. Plaintiff was asked: “Have you ever
         had an on the job injury?” She checked Yes and when asked “If you answered “Yes”
         please provide the date for each injury and the nature of the injury” she wrote “ Yes
         Allergy Reaction To Shrimp”.

         RESPONSE: Admitted that as a Louisiana employee, Plaintiff filled out the required
         six-page Louisiana Workers’ Compensation Second Injury Board Post-Hire/Conditional
         Job Offer Knowledge Questionnaire wherein her employer is listed as “Premier” and in
         which she disclosed she had asthma that she had for “life” and for which she had no
         permanent restrictions. The prior allergic reaction related to shrimp for which she filed a
         workers’ compensation claim against her prior employer, IMS, is immaterial to whether
         Defendant provided Plaintiff with an accommodation.

3.       Despite the fact that the form returned by Plaintiff’s doctor specifically stated that
         Bergeron could not be in contact or around shellfish the accommodations, granted by
         LCMC, still allowed employees to eat seafood while the Plaintiff was working as long as
         a sign stating “SEAFOOD PRESENT” was up.

         RESPONSE: Defendant admits that the accommodations provided complied with
         Plaintiff’s restriction not to be in contact or around shellfish since there is no evidence
         employees were permitted to or ever did eat shellfish “around” Plaintiff. The evidence
         demonstrates seafood, when consumed, was consumed in a breakroom or conference
         room with closed doors ten to twenty feet away from Plaintiff’s work station.

4.       The “SEAFOOD PRESENT” sign was always up and did not work to give notice to
         Plaintiff of when seafood was actually present.

         RESPONSE: Objected to as there is no competent or conclusive evidence that the
         “SEAFOOD PRESENT” sign was always up at all of the clinics at which Plaintiff
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         worked or that a sign stating “SEAFOOD PRESENT” did not give notice to Plaintiff not
         to enter a place where the sign was posted.

5.       There were no tools in place to monitor if the staff was complying with the
         accommodations.

         RESPONSE: Objects as mischaracterizes the record evidence.


6.       On February 21, 2020, Plaintiff again had an exposure to seafood which she reported to
         Jennifer Banham, the medical examiner nurse working with the worker’s compensation
         claim with LCMC. Ms. Banham reported the incident to Marie Lambert, the Employee
         Health Coordinator for LCMC via email.

         RESPONSE: Defendant objects to this email as inadmissible hearsay. There is no
         evidence that Bergeron was exposed to seafood at work on February 21, 2020 or that she
         reported such an exposure to Defendant directly. There is no evidence regarding who
         allegedly exposed her, what the allergen was, or any other specific evidence of an
         exposure.

7.       Plaintiff had seafood exposures and self-medicated on April 2, 2020 and April 3, 2020.

         RESPONSE: Denied as conclusory and unsupported by competent record evidence.
         Plaintiff was not at work on April 2, 2020, see Rec. Doc. 32-2, p. 12, and there is no
         evidence of an exposure or a communication of any exposure to Defendant at any time in
         April 2020.

8.       Plaintiff complained about staff recurrently eating seafood despite their knowledge of her
         seafood allergy multiple times. Plaintiff wrote an email to Marie Lambert on February 5,
         2020, after two severe seafood exposures incidents, complaining that the staff was
         bringing in seafood during her shift when they know she was allergic and stating that she
         feels the staff is trying to get rid of her.

         RESPONSE: Defendant objects to the statement that “Plaintiff complained about staff
         recurrently eating seafood despite their knowledge of her seafood allergy multiple times”
         as unsupported by the record evidence provided. Defendant further objects to this
         statement as DEF_000206 does not support this statement. Plaintiff’s email to Marie
         Lambert on February 5, 2020 states: “I just left Dr Acula he has ordered more labs on the
         27 of feb Elev wbc could mean infection rechecking He asked me does the staff Want to
         get rid of you? Brining in seafood when they know you are allergic!!! My answer was I
         don’t know!!” (SIC). This email was not a complaint to Lambert but Plaintiff’s recount
         of a visit with a doctor and what he asked her presumably based on what she told him, of
         which there is no evidence.

9.       Plaintiff wrote another email on February 22, 2020 indicating that seafood is deadly to
         her but that her center manager, Icesis Guy knows this and still allows it when she works
         and she feels threatened by the behavior.
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         RESPONSE: Defendant objects to this statement as it mischaracterizes the evidence.
         DEF_000203 provides: “Note from pelican Re seafood free environment This is deadly
         to me it’s in the air I believe this is on purpose icesses knows But yet she allow it when I
         work. Employees know Tobie stated don’t go in Icesses said nothing . Why do they do
         this Do they want me to leave that bad ? I feel threatened also patients are at risk plus it
         stinks !why eat it when I am coming in?” (SIC) Defendant further objects to this
         statement as lacking context, clarity, or specificity regarding the statements therein.

10.      On March 16, 2020, Plaintiff requested a meeting with HR Director Nick Millet which
         she recorded. During the meeting, she complained about a hostile work environment
         caused by her supervisor, Icesiss Guy who harassed her as a result of her complaints
         about seafood being eaten.

         RESPONSE: Defendant objects to this statement as there is no evidence submitted to
         support the statement that Plaintiff requested the March 16, 2020 meeting. Defendant
         further objects to the audio file submitted allegedly in support of this statement which
         does not reflect that Bergeron complained about harassment “as a result of her complaints
         about seafood being eaten.” Defendant further objects to Plaintiff’s reliance on this
         recording and the purported transcript excerpt thereof as no transcript was produced to
         Defendant nor has there been any attempt to authenticate the recording or verify it is
         complete, has not been edited or tampered with in any way, or is otherwise competent
         evidence.

11.      At no point during these two disclosures by Plaintiff did LCMC engage in the interactive
         process with Plaintiff.

         RESPONSE: Defendant objects to this statement as confusing and unsupported by
         record evidence.

12.      The seafood allergy was open and obvious.

         RESPONSE: Defendant objects to this statement as unsupported by record evidence.
         Plaintiff cites the deposition of Bergeron at pp. 12 and 13 in support of this statement
         which the testimony on those pages in no way does. Plaintiff’s testimony on these pages
         describes the allergic reaction she allegedly had to a bag of seafood brought in by an
         employee at a prior employer’s workplace. Bergeron’s allergy to seafood was not open
         and obvious. And there is no evidence that Defendant ever witnessed Bergeron
         experiencing the effects of any alleged workplace exposure to seafood.

13.      There was no interactive process or discussions with Plaintiff to craft the
         accommodations. Plaintiff recalls one meeting with Jaimie Malveaux and Nannette
         Young prior to receiving the October 23, 2019 email in which she was told about a
         “Seafood Present” sign. No other protocols listed were discussed. Plaintiff was told
         Malveaux had consulted with the ADA and that is all they could do. They did not ask
         Plaintiff if she thought the sign was sufficient. There was no discussion of any other
         accommodations except for the sign.

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         RESPONSE: Defendant objects to this statement as unsupported by the record evidence
         and as it mischaracterizes the testimony.

14.      There is no record evidence that any changes or discussions to modify the
         accommodations were made after this incident by LCMC. In fact, the HR Director at the
         time, Nick Millet, had never seen the sign and did not know if it permitted seafood or not.
         Nick Millet also stated that he did not review the appropriateness of the accommodation
         during his employment with Defendant.

         RESPONSE: Defendant objects to this statement as it mischaracterizes the record
         evidence and is vague and non-specific. Nick Millet was only employed with Premier for
         a short time before Plaintiff’s termination. See Rec. Doc. 32-2, pp. 10-11, ¶ 10.

15.      On February 21, 2020, Plaintiff again had an exposure to seafood which she reported to
         Jennifer Banham, the medical examiner nurse working with the worker’s compensation
         claim with LCMC. Ms. Banham reported the incident to Marie Lambert, the Employee
         Health Coordinator for LCMC via email.

         RESPONSE: Defendant objects to this statement as duplicative of Statement No. 6 and
         incorporates its response to that statement here.

16.      In the medical records produced by Defendant for Dr. Steen, the physician requested by
         the Defendant as a result of Plaintiff’s worker’s compensation claim for the January 15,
         2020 seafood exposure incident, indicates that Plaintiff had two other seafood episodes
         over the last several months.

         RESPONSE: Defendant objects to this statement as confusing and as it relies on hearsay
         and is nonspecific and lacks context and thus is not competent evidence. The record
         evidence establishes that Plaintiff had only two reported exposures – September 2019 and
         January 2020.

17.      On March 13, 2020, Dr. Borgman wrote a letter indicating that Ms. Bergeron was
         experiencing numerous allergic reactions due to her having a seafood allergy with
         exposure at work.

         RESPONSE: Defendant objects to this statement as it relies on hearsay and is
         nonspecific and lacks context and thus is not competent evidence. The record evidence
         establishes that Plaintiff had only two reported exposures – September 2019 and January
         2020.

18.      Plaintiff had seafood exposures and self-medicated on April 2, 2020 and April 3, 2020.

         RESPONSE: Defendant objects to this statement as it is only supported by Plaintiff’s
         self-serving allegations and is belied by the record evidence which Plaintiff was not at
         work on April 2, 2020. See Rec. Doc. 32-2, p. 12.


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19.      LCMC indicates that Icesiss Guy was in charge of monitoring the accommodations and
         that staff was supposed to be held accountable for making sure food containers were
         sealed in the refrigerator.

         RESPONSE: Defendant objects to this statement as it is not supported by record
         evidence. Plaintiff cites to the deposition of Marie Lambert who did not testify as a
         corporate representative and does not make determinations regarding who is “in charge of
         monitoring accommodations.”

20.      Plaintiff wrote another email on February 22, 2020 indicating that seafood is deadly to
         her but that her center manager, Icesis Guy knows this and still allows it when she works
         and she feels threatened by the behavior.

         RESPONSE: Defendant objects to this statement as duplicative of Statement No. 9 and
         incorporates its response to that statement herein.

21.      In March, 2020, Plaintiff requested a meeting with HR Director Nick Millet which she
         recorded.31 During the meeting, she complained about a hostile work environment
         caused by her supervisor, Icesiss Guy who harassed her.

         RESPONSE: Defendant objects to this statement as duplicative of Statement No. 10 and
         incorporates its response to that statement herein.

22.      When Icessis Guy was asked how many times she eats seafood while Plaintiff was
         working with her, Ms. Guy admitted that seafood is a large part of her diet.

         RESPONSE: Defendant objects to this statement as immaterial.

23.      Further, former co-worker Toby Savoie witnessed Icesiss Guy make negative comments
         about Plaintiff because of her seafood restrictions and witnessed Guy’s disregard and/or
         annoyance for Plaintiff’s seafood accommodations.

         RESPONSE: Defendant objects to this statement as lacking specificity, as unreliable,
         and as hearsay. Defendant further objects to this statement as immaterial since Guy did
         not make any decisions regarding whether to accommodate Plaintiff’s allergy, whether to
         terminate her employment, or whether to transfer her to another clinic.

24.      Icessis Guy testified that the clinics never reached a point where they had zero masks in
         the clinic and that there was enough to get at least one mask if a mask was dirty and
         tainted and that no one had any grossly dirty masks.

         RESPONSE: Defendant objects to this statement as immaterial and misleading. The
         masks Plaintiff took were N-95 masks and there is no evidence that such masks were
         readily available in the clinics before the shipment was received in April 2020.
         Additionally, this statement is immaterial because there is no evidence Plaintiff took a
         mask to replace a dirty mask – the evidence reflects that she took several masks and put
         them in her purse/bag.
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25.      There was no notice on the box with masks that indicated no one could take masks or
         putting a limit on how many a person could take.

         RESPONSE: Defendant objects to this statement as immaterial. There is no dispute that
         there was a critical, global shortage of N-95 masks and that Bergeron was aware of that
         fact. Rec. Doc. 35-1, pp. 13-14, ¶ 33.

26.      Anyone that was bleeding or coughing out blood in their mask are not expected to reuse
         the masks.

         RESPONSE: Defendant objects to this statement as immaterial.

27.      Plaintiff was coughing up blood.

         RESPONSE: Defendant objects to this statement as immaterial and lacking context.

28.      Plaintiff did not have to go through HR to get extra masks because of her bloody cough.

         RESPONSE: Defendant objects to this statement as immaterial and lacking context.

29.      Masks are kept in the clinic and if she needed one she could just go to where the masks
         were kept and get one and if she felt as if it was too soiled then she could simply get
         herself another one.

         RESPONSE: Defendant objects to this statement as lacking specificity and immaterial
         as Plaintiff did not take one mask to replace a soiled one. She left her allegedly soiled
         mask on and placed the other she took into her personal bag. Defendant further objects to
         this statement to the extent it refers to any type of mask other than an N-95 mask, which
         is the type of mask Plaintiff took.

30.      Plaintiff testified that Icessis Guy stated“ all these masks are missing, all these masks”
         and that she responded “no, here’s a mask, here, I have the mask, here’s your mask.”

         RESPONSE: Defendant objects to this statement as lacking context and immaterial.

31.      Plaintiff testified that she took the masks to use at work, not personal use because she
         was working in a COVID clinic with a bloody cough.

         RESPONSE: Defendant objects to this statement as immaterial as this is not what
         Plaintiff told Defendant at the time of the incident. At that time, she disclaimed
         remembering taking the masks at all and later admitted at her deposition that was not
         true. Rec. Doc. 32-3, pp. 17-19, 224:1-226:18.

32.      Plaintiff went into a drawer, took them out of her medicine bag and returned the masks
         within minutes of taking them and the Plaintiff is shown giving them back to Icessis Guy.

         RESPONSE: Defendant objects to this statement as immaterial.

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33.      All of her actions were done with several employees standing around or near her and

         RESPONSE: Defendant objects to this statement as incomplete and immaterial.

34.      Nick Millet, the HR Director that terminated Plaintiff, had no information that Plaintiff
         was not going to use the masks for work. Nick Millet did not include the fact that
         Plaintiff returned the masks back to Icesiss Guy in his memo memorializing the
         termination that went to Plaintiff’s personnel file.

         RESPONSE: Defendant objects to this statement as it mischaracterizes the evidence and
         is otherwise immaterial.

35.      When Nick Millet asked Plaintiff about missing masks at the meeting, he did not inform
         her that the masks he was asking about were masks that were returned.

         RESPONSE: Defendant objects to this statement as immaterial. There is no evidence
         that there was any confusion on Plaintiff’s part as to why she was in the meeting or what
         masks were at issue.

36.      After reviewing the video during the deposition, Nick Millet testified that her actions
         would be misappropriation instead of theft which means temporarily taking an object
         instead of theft which would mean taking the object and walking out the door.

         RESPONSE: Defendant objects to this statement as it mischaracterizes the record and
         implies that Millet was shown the entire surveillance video during his deposition, which
         he was not. Defendant further objects to this statement as immaterial as it is undisputed
         that Defendant believed Plaintiff took the masks for her personal use in violation of
         company policy.

37.      But for Ms. Guy’s complaint to Pam Ballard advising that Plaintiff had stolen masks,
         Nick Millet and Pam Ballard would not have terminated Plaintiff for theft and there is no
         policy against misappropriation as defined by Mr. Millet.

         RESPONSE: Defendant objects to this statement as it is not supported by and
         mischaracterizes the evidence.

38.      The denial of Plaintiff’s request to transfer from the clinic in Marrero to the clinic in the
         Gretna to avoid seafood exposures is also an adverse employment action because it
         would change the conditions of her employment and she could work more.

         RESPONSE: Defendant objects to this statement as not supported by the record
         evidence and as it is pure, inadmissible speculation. Defendant further objects on the
         basis that this statement contains a legal conclusion.

39.      No one could recall why the transfer request was denied.


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         RESPONSE: Defendant objects to this statement as it lacks specificity and context and
         is misleading. Pam Ballard testified she did not recall denying the request at all and the
         record evidence shows that Plaintiff did not send the email indicating that she desired a
         transfer – instead it remained a draft in her inbox. Rec. Doc. 35-22.

40.      Plaintiff had to take a month long leave in October, and missed work opportunities and
         several days in March could work more and have less leave days is a change in the
         conditions of employment.

         RESPONSE: Defendant objects to this statement as nonsensical and immaterial.
         Defendant further objects to this statement to the extent it suggests that Plaintiff
         requested to transfer to the Gretna prior to the September 2019 exposure or the month of
         leave Plaintiff took thereafter. The record reflects that Plaintiff requested the transfer on
         January 29, 2020.

41.      Plaintiff continued to be damaged and exposed to seafood month after month in
         September 2019, January 2020, February 2020, March, 2020 and in April 2020 and more
         during the pendency of her employment which lasted 14 months. Neither the conduct or
         the damages abated until her termination.

         RESPONSE: Defendant objects to this statement as unsupported by the competent
         record evidence. There is no evidence that Plaintiff suffered ongoing damages as a result
         of exposures in February, March, or April 2020, or that any alleged damages she claims
         to have suffered were caused by her exposures to seafood in the workplace at all during
         these months.

         B.          Defendant Reiterates its Objections to the Following Exhibits

                     1.     Defendant Objects to Exhibit C

         Bergeron attaches as Exhibit C to her Opposition to Defendant’s Motion for Summary

Judgment an email, which purports to be email correspondence directed to Marie Lambert’s

attention (Rec. Doc. 35-5). This document was not authenticated during Lambert’s deposition,

nor was there any attempt to authenticate it for purposes of Plaintiff’s Opposition to Defendant’s

Motion for Summary Judgment. Therefore, this document, attached as Exhibit C to Plaintiff’s

Opposition, should not be considered in deciding Defendant’s Motion for Summary Judgment.

                     2.     Defendant Objects to Exhibit G

         Bergeron submitted “audio files with an accompanied excerpt transcription” as Exhibit G

to her Opposition to Defendant’s Motion for Summary Judgment. “It is well-settled that “[t]o be
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admissible [as summary judgment evidence], documents must be authenticated by and attached

to an affidavit that meets the requirements of [Federal Rule of Civil Procedure] 56(e) and the

affiant must be a person through whom the exhibits could be admitted into evidence.” In re

Directech Sw., Inc., 2009 WL 10663104, at *3 (quoting 10A Charles Alan Wright, et al., Federal

Practice and Procedure § 2722, at 59-60 (2d ed. 1983)). Here, Bergeron included a “Notice of

Manual Attachment” (Rec. Doc. 35-9) but made no attempt to authenticate either the recording

or transcript via an affidavit or otherwise. As a result, there is nothing establishing the reliability

of this purported evidence. There is nothing in the record confirming that the recording was not

altered, modified, or excerpted. Additionally, the “transcript” pp. 3-11 of Rec. Doc. 35-9, does

not provide any indication as to who prepared the document, when it was prepared, or how it was

prepared, nor is there an affidavit attesting to its accuracy. Notably, this “transcript” document

was not previously provided to Defendant either in this excerpted form or in any complete form.

The entirety of Exhibit G should be stricken from the record. Should the Court consider Exhibit

G, it should be noted that neither the inadmissible, excerpted transcript nor the audio recording

support Plaintiff’s position that she complained about a hostile work environment because of her

allergy.

                     3.   Defendant Objects to Exhibit Q

         Bergeron attached the Declaration of Toby Savoie as Exhibit Q to her Opposition to

Defendant’s Motion for Summary Judgment (Rec. Doc. 35-18). For testimony from an affidavit

or declaration to be admissible for summary judgment purposes, it must: (1) be based on

personal knowledge, (2) set out facts that would be admissible in evidence, and (3) show that the

affiant or declarant is competent to testify on the matters stated. Fed. R. Civ. P. 56(c)(4).

Exhibit Q fails to satisfy these requirements. This declaration states that Savoie “witnessed

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Icesiss Guy make negative comments about Myrell Bergeron because of her seafood restrictions”

but contains no details regarding what the comments allegedly were, when they were made, or in

what context. The declaration also states that Savoie “witnessed Icessis Guy’s annoyance for

Myrell Bergeron’s seafood accommodations.” This statement is nonsensical but is also not

supported by anything specific that Savoie allegedly witnessed that led her to conclude that Guy

was annoyed at all or that any such annoyance was “for . . . Bergeron’s seafood

accommodations.” Such statements lack the requisite demonstration of personal knowledge or

specificity to constitute anything more than “[u]nsubstantiated assertions, improbable inferences,

and unsupported speculation [which] are not competent summary judgment evidence.” Walker v.

SBC Servs., Inc., 375 F. Supp. 2d 524, 535 (N.D. Tex. 2005). Any statements that violate the

rule[s] may “not [be] considered for summary judgment purposes.” Floyd v. Chilly's L.L.C. of

Alabama, No. CV 15-00544-BAJ-RLB, 2017 WL 1455024, at *3 (M.D. La. Apr. 21, 2017).



                                     Respectfully submitted,

                                     BAKER, DONELSON, BEARMAN,
                                     CALDWELL & BERKOWITZ, PC


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                                     COUNSEL FOR LCMC URGENT CARE, LLC



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                                 CERTIFICATE OF SERVICE

         I hereby certify that on this 6th day of April 2022 the foregoing document was served on

all counsel of record by causing a copy of same to be electronically filed with the Clerk of Court

using the CM/ECF system and/or by U.S. Mail and Email.


                                                     s/ Christine M. White
                                                     CHRISTINE M. WHITE




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